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      COUNTY OF LOS ANGELES
  7
  8                         UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
 10
 11   JULIA MILDENBERGER, in her              Case No. ____________________
      individual capacity and in her capacity
 12   as CEO of SOUTHERN
      CALIFORNIA CAT ADOPTION                 NOTICE OF REMOVAL
 13   TAILS; a California nonprofit
      corporation,
 14
                   Plaintiff/Petitioner,
 15
            vs.
 16
      COUNTY OF LOS ANGELES; and
 17   DOES 1 through 50, inclusive
 18
                  Defendants/Respondents.
 19
 20
 21
 22   TO THE CLERK OF THE ABOVE-ENTITLED COURT:
 23         PLEASE TAKE NOTICE that Defendant County of Los Angeles hereby
 24   removes to the United States District Court, Central District of California the state
 25   court action described below.
 26         1.     On December 1, 2022, an action was commenced in the County of Los
 27   Angeles Superior Court, titled Julia Mildenberger, etc. v. County of Los Angeles, et
 28   al., Los Angeles Superior Court No.22STCP02424. A copy of the petition in such
                                                 1
                                       NOTICE OF REMOVAL                                      1
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  1   case is attached in the separate exhibits volumes as Exhibit A.
  2         2.     Despite being labelled as a petition, the Petition includes a cause of
  3   action for damages under 42 U.S.C. § 1983, premised on alleged violations of the
  4   United States Constitution.
  5         3.     The first receipt of such document was by the purported service on the
  6   County of Los Angeles was made on December 6, 2022. Attached as Exhibits D
  7   and I, respectively, in the separate exhibit volumes, are true and correct copies of the
  8   Summons and of the Proof of Service filed with the Superior Court.
  9         4.     On December 8, 2022, the petitioner filed a First Amended Complaint,
 10   a copy of which is attached as Exhibit L in the separate exhibit volumes.
 11         5.     On December 9, 2022, plaintiff made service by mail of such document
 12   on counsel for the County of Los Angeles. A copy of the proof of service is attached
 13   as Exhibit M in the separate exhibits volumes.
 14         6.     As of the date of the filing of this removal, no defendant has been
 15   named in place of any Doe.
 16         7.     This action is a civil action of which this Court has original jurisdiction
 17   under 28 U.S.C. § 1331 and is one which may be removed to this Court by the
 18   defendants pursuant to the provisions of 28 U.S.C. § 1441 (b) and (c), in that it
 19   involves claims for violations of 42 U.S.C. § 1983.
 20   DATED: January 5, 2023           CARPENTER, ROTHANS & DUMONT LLP
 21                                          /s/ John J. Stumreiter
                                       By:________________________________
 22                                          Jill Williams
                                             John J. Stumreiter
 23                                    Attorneys for Defendant/Respondent
                                       COUNTY OF LOS ANGELES
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                                                 2
                                       NOTICE OF REMOVAL                                         2
